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                                                          May 27, 2021

Via Electronic Case Filing
Chief Clerk
U.S. District Court
Western District of Texas, Waco Division
800 Franklin Avenue
Waco, Texas 76701

          RE:       Cause No. 6:19-cv-00227-RP; Mary Doe v. Baylor University; In the United
                    States District Court for the Western District of Texas, Waco Division

Dear Clerk of the Court:

     Please note that I will be on vacation from Monday, March 14, 2022, through
Wednesday, March 30, 2022.

       I respectfully request that the Court not schedule any hearings, matters requiring a
response, or other court proceedings in the above-referenced cause or any other pending matters
during this time period.

          Thank you for your kind assistance in this matter.


                                                              Respectfully submitted,


                                                              /s/ Henry S. Wehrmann
                                                              Henry S. Wehrmann


HSW/tcb

cc:       All Counsel of Record – Via eFiling for Texas
      Case 6:19-cv-00227-RP-AWA Document 80 Filed 05/27/21 Page 2 of 2




                                  CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was served via e-filing for Texas upon the
following counsel via e-mail on this 27th day of May, 2021.

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                                                          /s/ Henry S. Wehrmann
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